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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                               Case No. 8:20-cr-165-MSS-AAS

  EDWARD CHRISTOPHER WHITE, JR.
  _____________________________________

            FINAL ORDER OF FORFEITURE FOR DIRECT ASSETS

       THIS CAUSE comes before the Court upon the United States of America’s

 Motion for a Final Order of Forfeiture for the following assets, which were subject to

 an order of forfeiture and preliminary order of forfeiture direct assets entered on

 February 28, 2023 (Doc. 325):

              a.    The real property located at 22020 Front Beach Rd, Unit 2,
                    Panama City Beach, Florida 32413, including all improvements
                    thereon and appurtenances thereto, the legal description for
                    which is as follows:

                    UNIT 2: COMMENCE at the Northeast corner of Lot 10, Block
                    5, Kiska Beach Subdivision, according to the Plat thereof, as
                    recorded in Plat Book 3, Page 24, of the Public Records of Bay
                    County, Florida; thence S23 degrees, 22'32"W, along the East
                    line of said lot, a distance of 125.15 feet to the Southeast corner
                    of said lot; thence N66 degrees 28'49"W, along the South line of
                    said lot, a distance of 50.14 feet to the Northeast corner of Lot
                    16, of said Block 5; thence S23 degrees 20'24"W, along the East
                    line of said Lot 16, a distance of 16.47 feet; thence leaving said
                    East line, N66 degrees 39'36"W, a distance of 9.35 feet; thence
                    N66 degrees 48'00"W, a distance of 22.25 feet; thence S23
                    degrees 46'36"W, a distance of 8.04 feet; thence N66 degrees
                    43'50"W, a distance of 18.78 feet to the POINT OF
                    BEGINNING; thence continue N66 degrees 43'50"W, a distance
                    of 18.62 feet; thence N23 degrees 18'04"E, a distance of 7.99 feet;
                    thence N66 degrees 37'29"W, a distance of 1.00 feet; thence S23
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                  degrees 45'08"W, a distance of 76.03 feet; thence S66 degrees
                  44'11”E, a distance of 20.25 feet; thence N23 degrees 15'49"E, a
                  distance of 68.04 feet to the POINT OF BEGINNING. Said
                  parcel is a part of Lot 17, Block 5, of said Kiska Beach
                  Subdivision.

                  Parcel Identification No. 36015-000-015.

                  Titled Owner: Chris White;

            b.    The real property located at 3232 Magnolia Islands Blvd,
                  Panama City Beach, Florida 32408, including all improvements
                  thereon and appurtenances thereto, the legal description for
                  which is as follows:

                  Lot 181 and 182, The Preserve on the Bay Phase IV-A, according to
                  the map or plat thereof, as recorded in Plat Book 19, Page 6 of the
                  Public Records of Bay County, Florida.

                  Parcel Identification No. 31365-860-000.

                  Titled Owner: The Edward Christopher White, Jr. Family
                  Protection Trust, Dated July 24, 2019;

            c.    $280,000 in lieu of the 1986 Cessna Citation SII S550 aircraft,
                  Serial Number S550-0111, Tail Number Nl7LP;

            d.    2018 Range Rover, VIN: SALWZ2SE4JA184013;

            e.    2019 Mercedes-Benz Sprinter Van, VIN:
                  WDAPF1CDXKP051312;

            f.    Approximately $5,312.95 seized from Centennial Bank account
                  number 503081134, held in the name of White Hewitt-Air Corp;

            g.    Approximately $124,280.34 seized from Centennial Bank
                  account number 503088255, held in the name of Christopher
                  White and Brian Moore;

            h.    Approximately $1,197.00 seized from Centennial Bank account
                  number 503182370, held in the name of D.A.R.C. LLC dba
                  D.A.R.C. Enterprises;

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               i.     Approximately $1,910.42 seized from Centennial Bank account
                      number 503182119, held in the name of White Medical LLC;

               j.     Approximately $9,742.69 seized from Centennial Bank account
                      number 503182905, held in the name of White Oil & Gas LLC;

               k.     Approximately $902.81 seized from Centennial Bank account
                      number 503182348, held in the name of Whitewater Consulting
                      LLC;

               l.     Approximately $603,818.00 seized from Regions Bank account
                      number 0263433532, held in the name of The Edward
                      Christopher White, Jr. Family Protection Trust; and

               m.     Approximately $580,255.00 seized form Pinnacle Bank account
                      number 800105121305, held in the name of The Edward
                      Christopher White, Jr. Family Protection Trust.

           (the real properties, vehicles, and seized funds).

        In accordance with the provisions of 21 U.S.C. § 853(n), the United States

 published notice of the forfeiture, and of the intent to dispose of real properties,

 vehicles, and seized funds on the official government website, www.forfeiture.gov,

 beginning on March 3, 2023 and continuing through April 1, 2023. Doc. 357. The

 publication gave notice to all third parties with a legal interest in real properties,

 vehicles, and seized funds to file with the Office of the ClerkCUnited States District

 Court, 300 North Hogan Street, Suite 9-150, Jacksonville, Florida 32202Ca petition

 to adjudicate their interests within 60 days of the first date of publication.

        In account with 21 U.S.C. § 853(n), the United States property notice the parties

 known to have a potential interest in real properties, vehicles, and seized funds. The

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 United States recognizes and agrees to pay from the proceeds of the sale of the real

 properties (to the extent that there are sufficient proceeds after the payment of

 government expenses relating to seizure, maintenance, custody, and disposal of the

 property), the United States will pay any and all ad valorem real property taxes and non-

 ad valorem assessments due and owing the Tax Collector up to the date of entry of the

 final order of forfeiture, and the association dues owed to Alluvion Townhome

 Association, Inc.

        Other than the defendant, whose interest was previously forfeited to the United

 States, the Tax Collector, and the Alluvion Townhome Association, Inc. (whose

 interests have been recognized), no other parties have filed a petition or claimed an

 interest in real properties, vehicles, and seized funds, and the time for filing such

 petition has expired.

        Accordingly, it is hereby:

        ORDERED, ADJUDGED, and DECREED that for good cause shown, the

 United States’ motion, is GRANTED.

        It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853(n)(7) and Rule

 32.2(c)(2), all right, title, and interest in real properties, vehicles, and seized funds are

 CONDEMNED and FORFEITED to the United States for disposition according to

 law. Clear title to real properties, vehicles, and seized funds is now vested in the

 United States of America, subject to the any ad valorem real property taxes and non-

 ad valorem assessments due and owing to the Tax Collector, and any and all

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 assessments, costs, reasonable attorney’s fees due and owing the Association.

       It is FURTHER ORDERED that, the United States Marshals Service and/or

 their duly appointed agent is directed to seize the forfeited real properties and take full

 and exclusive custody and control of same. The United States Marshals Service

 and/or their duly authorized agent is authorized to make immediate entry onto the

 forfeited real properties for the purposes of inspection, preservation, security, and

 safety, and for any other purpose related to the forfeiture of the properties.

        The net proceeds from the forfeited assets will be credited towards the partial

 satisfaction of the defendant’s order of forfeiture.

        DONE and ORDERED in Tampa, Florida, this 8th day of June 2023.




 Copies to:
 Mai Tran, AUSA
 All Parties/Counsel of Record




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